Case 1:23-cv-00595-JPH-KMB              Document 26-18   Filed 04/21/23    Page 1 of 3 PageID
                                              #: 381



                             SOUTHERN DISTRICT OF INDIANA
                                      INDIANAPOLIS DIVISION

 K.C., et al.,

                        Plaintiffs,
                 V.                                       No. 1:23-cv-00595-JPH-KMB

THEINDIVIDUAL MEMBERS OF THE
MEDICAL LICENSING BOARD OF
INDIANA, in their official capacities, et al.,

                        Defendants.

                                  Declaration of Emma Vosicky

           Comes now Emma Vosicky, being duly sworn, and says that:
1           Iam an adult resident of Indiana.

 2.        Iam the Executive Director of GenderNexus Inc.

 3.        GenderNexus is an Indianapolis-based nonprofit corporation, created in 2014,

 which provides assistance and services to and for gender-diverse persons, including

 transgender and gender-diverse youth under the age of 18.
 4.        Among other things, GenderNexus provides care coordination and short-term


    supportive counseling with licensed social workers, both for gender-diverse persons and
    for parents and caregivers. Additionally, GenderNexus conducts specific support groups
    for parernts and caregivers of transgender and gender-diverse youth.

      5.    GenderNexus also offers trainings for schools, business, counselors, business

      groups and government agencies, all of which trainings are designed to provide
                                                 (1]
Case 1:23-cv-00595-JPH-KMB         Document 26-18      Filed 04/21/23   Page 2 of 3 PageID
                                         #: 382


information and understanding concerning gender-diversity and to assist in constructing
a supportive environment for gender-diverse persons.
6.        In order to support its clients, GenderNexus regularly obtains information as to


those medical providers who offer gender-affirming care for adults and adolescents,

including those providers who are available to prescribe puberty blockers and gender

 affirming hormone therapy for adolescents. If and when appropriate and based upon

 meeting and consultation with the client and their parents/caregivers, GenderNexus can

 provide a medical referral letter which is required for certain gender-affirming care for
 individuals under 18.

 7.        Since September of 2022,GenderNexus has provided care coordination, for at least
 137 transgender persons (together with their parents/caregivers) between the ages of

 eleven to seventeen, inclusive. A significant portion of these individuals (in conjunction

 with their parents' involvement) are considering or receiving puberty blockers or gender
 affirming hormone therapy. The removal of these medical options,whether already being
  received or considered, substantively harms the mental and physical health and well

  being of these individuals as they are forced to experience their bodies developing in

     ways that are absolutely contrary to their deeply held understanding of their own gender

     identity.




                                                [2)
Case 1:23-cv-00595-JPH-KMB       Document 26-18       Filed 04/21/23    Page 3 of 3 PageID
                                       #: 383



                                       Verification

        Iverifyunder penalty of perjury that the foregoing is true and correct.
 Executed on: April 21,2023




                                         Emma Vosicky, J.D., MAT

 Prepared by:
 Kenneth J. Falk
  ACLU of Indiana




                                            (3]
